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                                                          Exhibit A to the Complaint
Location: Schwenksville, PA                                                                              IP Address: 108.16.12.42
Total Works Infringed: 55                                                                                ISP: Verizon Fios
 Work      Hashes                                                                 UTC             Site          Published     Registered   Registration
 1         Info Hash: D9D453CA10A11F235D92278E4484BBE5A2B5A9F1                           04-24-   Blacked       06-26-2018    08-07-2018   PA0002131867
           File Hash:                                                                      2022   Raw
           E5EAF731B958DF01B63E05FEB6F936C4B98032B1377C42E41EA24F47D29AEFCE            02:13:34
 2         Info Hash: 44EE8007D31DF8D2883B228679B50BB1595A5667                           04-24-   Blacked       07-24-2018    09-01-2018   PA0002119589
           File Hash:                                                                      2022
           55FC2F77E81859E8B87D1F9CF22A955FF16C16FB4A9B88F167E504FEC23C6B40            02:12:26
 3         Info Hash: 143ED56E751B662F727B52D79C441FBCC16BB177                           04-24-   Blacked       12-20-2018    02-02-2019   PA0002154970
           File Hash:                                                                      2022
           6E468AF507E2B8CA74CF0E8AB4CC91C10A7F4D5FFA43B66EE393ED88FB48F9FD            02:11:21
 4         Info Hash: 1ED7894C730F91D284F9451A87ECDC8F5187BF50                           04-24-   Blacked       05-12-2018    05-24-2018   PA0002101380
           File Hash:                                                                      2022   Raw
           38583D10BC13553F985C29BAE89EF5FBF0C3DE0603CF9C41C598EDB9A7D3426E            02:10:51
 5         Info Hash: 763A6FC5F201546394575CD7601D8C2D7DBD3AE7                           04-24-   Blacked       09-04-2018    11-01-2018   PA0002143430
           File Hash:                                                                      2022   Raw
           A2BE74C8C93C222986472D05AD8FD915556D28A62D19C4E1BA8E14CFBC4CE75A            02:10:46
 6         Info Hash: 90AF3C86FC0ECD0146DDFE57BFEAA4E26D079194                           04-22-   Blacked       07-06-2019    08-02-2019   PA0002192304
           File Hash:                                                                      2022   Raw
           6C07F7106D560D21F03E3A88304E502368948D9E4E838909E453898AD6BEBA00            20:36:53
 7         Info Hash: 98A7396F4B2B73301521703E68688BD98063104D                           04-22-   Blacked       02-04-2020    02-20-2020   PA0002229052
           File Hash:                                                                      2022
           EC7F3F865D934F1594E5F8E53A103717F39DA69AEDA7FAD4BAD2A032D5AF4520            20:35:35
 8         Info Hash: CBCD2792157D511F104632A294C1F384488E7898                           04-21-   Blacked       03-12-2022    03-29-2022   PA0002342846
           File Hash:                                                                      2022
           099497CD425F9C511FF9463C074FD98858992B7D69E2D6A6589E3771E6081A4E            04:38:19
 9         Info Hash: C6D89A14439B65845B858939EABB7075820E2B1D                           04-21-   Blacked       04-16-2022    04-23-2022   PA0002346424
           File Hash:                                                                      2022
           34B237A6542B8BC5C3F37D109D74B20FCA2D704596C79193FF3BB53A62EB7F4B            04:37:34
 10        Info Hash: 03BDBAB1ACA79F441D77CEC21E238F41A94C8553                           04-20-   Blacked       11-06-2019    11-15-2019   PA0002211857
           File Hash:                                                                      2022
           57C68256BB15BB4FD7569464BC37D87E22482ACEAFEB9E1920C98EA583FEB0CE            09:51:35
 11        Info Hash: A4217C332CF806017EE6C8CF1E5151DFF8833788                           04-20-   Blacked       05-10-2021    06-15-2021   PA0002296920
           File Hash:                                                                      2022   Raw
           A5C5CCE866EC37B20892846DE00B32E7F46D3E3BCED9E20695DD1B57A161F291            07:44:06
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Work   Hashes                                                             UTC         Site      Published    Registered   Registration
12     Info Hash: 96127ED926E5751F78E60FF117D75F59E918CF27                   04-20-   Blacked   05-18-2020   06-08-2020   PA0002243644
       File Hash:                                                              2022   Raw
       3313A2993842C3CF965B06B55DFCB0348C061AE23EE7F1B73DFA0DD56BC67635    07:31:14
13     Info Hash: B83E00880518FBB59ED04CB16EC0BADA95B4881B                   04-20-   Blacked   05-09-2020   06-08-2020   PA0002243649
       File Hash:                                                              2022
       029EFB4D3105D9CD06E5B94F441B8CEA6D551DD3AD5962D6EDFCC6174FFC925F    07:20:34
14     Info Hash: 86C5F87BA9C2618D57F79C76608F5D883C5439CF                   04-20-   Blacked   12-19-2020   01-05-2021   PA0002269959
       File Hash:                                                              2022
       58FBE5F562F65118013731FFA138E1D677C1589287C02171C3829034C0E6DAED    07:19:48
15     Info Hash: D2551CED979FBE4D8C2A3098FE7D389E9696CBAD                   04-20-   Blacked   02-19-2020   03-18-2020   PA0002241617
       File Hash:                                                              2022
       FEC2E8D593528D2DEF92B720A4E7D678DBD7E74A8201BE18489DCDA667272B23    07:19:21
16     Info Hash: 12AAB75A3A3BB64DE4339240DF6D1269CAED426B                   04-20-   Blacked   11-09-2020   12-09-2020   PA0002274940
       File Hash:                                                              2022   Raw
       C1E81036C947E3579382E5E77BA638DC7F8D78FDA01629B06263EEEE1D7D9F42    07:18:50
17     Info Hash: 401BD78981FD230772B6E3BEFCDD92B604B2E62B                   04-20-   Blacked   12-31-2019   01-27-2020   PA0002223957
       File Hash:                                                              2022
       B9BA7C96CD0B555A03577338399A158CD36B6A5FA61DD4781D5585947481FC21    07:17:25
18     Info Hash: FB1062DEBE9D48CFEC5732E50EF4462C3F741403                   04-20-   Blacked   11-07-2020   11-24-2020   PA0002265966
       File Hash:                                                              2022
       335EEFDCC5236DD95EA0EB3242E33659D0527EB8DC80CEAB01D6724156A5E8E8    07:15:30
19     Info Hash: D0BD7209B80B2C94170FF75E2F32AB015F15FCFC                   04-20-   Blacked   11-21-2020   11-30-2020   PA0002266354
       File Hash:                                                              2022
       05B778D357F0904051BCB263081A900CAF79C7FE5FC9403395709943A81646A9    07:14:42
20     Info Hash: 6F65E2CE26FD7A400561F10D9D7C4DD95808DD16                   04-20-   Blacked   09-26-2020   10-22-2020   PA0002261801
       File Hash:                                                              2022
       84D64F5A1553C14E2E6EF2858D7296E2205F7156159F702194E29F9118ED3A5F    07:07:33
21     Info Hash: 44879CA5156C6B94FAB93A6D4FD160ABB8689D82                   04-20-   Blacked   08-24-2020   09-05-2020   PA0002255474
       File Hash:                                                              2022   Raw
       8813814E8DF5A47074C41B0A60494F957BB41B4C3FE7226DA5AE46719DE78A69    07:03:50
22     Info Hash: 1A85204FFC1A183E8EA9896CECA2E460FD802671                   04-20-   Blacked   08-22-2020   09-05-2020   PA0002255479
       File Hash:                                                              2022
       E091A5388AC1871CD2BA3CBA8E9272E849CEB0ADE3FA3EA5AB217BD5AED5996C    07:01:15
23     Info Hash: 674ECFE8044FB0E14C08BBCCA84DA742E2DDF69C                   04-20-   Blacked   03-21-2020   04-15-2020   PA0002246170
       File Hash:                                                              2022
       EBC93CEE8C3D24378369FE4600015D6B01BEF436F1F7429861051285EDB8927E    07:00:10
                                Case 2:22-cv-01871-HB Document 1-1 Filed 05/13/22 Page 3 of 5

Work   Hashes                                                             UTC         Site      Published    Registered   Registration
24     Info Hash: FF8BDF1486B5ABB290723E3389EC2D872A93DED2                   04-20-   Blacked   03-23-2020   04-17-2020   PA0002246101
       File Hash:                                                              2022   Raw
       A69111A597DB4D86059F4A88B6DA7CC1C050C253EFC22B2074BEDDF6B13F3E43    07:00:09
25     Info Hash: 8CD924715A479D3D0E91C3B0E62BC25E883E62E5                   04-20-   Blacked   11-30-2020   01-04-2021   PA0002277037
       File Hash:                                                              2022   Raw
       BDBCDF434CF419496FF3E8D769526E3BA168CCF989EE165CA197276A53CE6F04    06:57:28
26     Info Hash: 434CDEA9A4E461DA9DB9DF7E96C1F733C273AB05                   04-20-   Blacked   09-14-2020   09-29-2020   PA0002258688
       File Hash:                                                              2022   Raw
       69D7A044616B2F1F42B2ED49D9E68488BF7B87739F3D0F97BFA8FF6B5FEB8EFF    06:56:51
27     Info Hash: F2D58D0D2635DDE3BBE018EF87E28BFB4A1DCA0B                   04-20-   Blacked   02-08-2021   03-08-2021   PA0002280363
       File Hash:                                                              2022   Raw
       A182656B5855D9EEEB1A21DEAC2D825C87BC0FD2767A1E34F247D9208085DABD    06:54:50
28     Info Hash: BCC18BD6272372F3CFC59A1BE674F61C4788F0CB                   04-20-   Blacked   02-24-2020   03-18-2020   PA0002241627
       File Hash:                                                              2022
       8A56C37DE8CCCDAA7BBD3EDFA4DC0F49439A4A4CCE0BED2C6768E4FC69BA25C0    06:54:12
29     Info Hash: D90661C4EAF703AD571420CB0E7B68DA96A83C8F                   04-20-   Blacked   01-04-2021   02-02-2021   PA0002280514
       File Hash:                                                              2022   Raw
       EC6D90A123469F683033BF6383B5F9752EA070551E408220A225B6352EE6E9B6    06:54:11
30     Info Hash: 966AF5D11568D7D5896168F66E882245BA8A5F07                   04-20-   Blacked   01-12-2020   02-04-2020   PA0002225587
       File Hash:                                                              2022   Raw
       13ABD2A124FF486B57001E7FB865A719FBB18B92F74EF38F6CD5ECA9744EBBE2    06:54:08
31     Info Hash: EE17F083B17FF1CA2FB00CD0D59D40DF6B18D6EB                   04-20-   Blacked   06-05-2021   06-15-2021   PA0002296924
       File Hash:                                                              2022
       B1EA6D0E237026DF8243ACEADE7BF5EC61F63E0EE2CB6546C20E7DCBE043ACCC    06:53:43
32     Info Hash: 7F06F0E07A10143EB2C8673FADA7B21358A4AB2D                   04-20-   Blacked   12-01-2019   12-17-2019   PA0002217663
       File Hash:                                                              2022
       8730E641DB888136CD4E9A1EA37C129852A6999082620E5C071F489A6055E333    06:49:22
33     Info Hash: E99423C73146CABA22B64FF972FDB3B66BC6D81C                   04-20-   Blacked   03-22-2021   04-14-2021   PA0002286722
       File Hash:                                                              2022   Raw
       8852896000A54989467CAFC490427488EC8C572DE303EF5E41E903903FADC3E6    06:47:40
34     Info Hash: 594B1EC594576B1294B0757C21ADF7A928EB5F09                   04-20-   Blacked   11-08-2021   01-07-2022   PA0002337933
       File Hash:                                                              2022   Raw
       06257E6840E83AEEC08AEF690243152B3A076D274C00D69F63C7D37CEF2D5963    06:46:50
35     Info Hash: C98740C62F8F9C6B18747244C61404316A90AA7C                   04-20-   Blacked   04-19-2021   04-27-2021   PA0002288984
       File Hash:                                                              2022   Raw
       56A0813EBB70472E9743368766038D60CE524AF3A3E02C21CC91B5BF295DE28A    06:45:50
                                Case 2:22-cv-01871-HB Document 1-1 Filed 05/13/22 Page 4 of 5

Work   Hashes                                                             UTC         Site      Published    Registered   Registration
36     Info Hash: 100B6F9C5A2944DB7DF3364E036D66FFC17BE1A1                   04-20-   Blacked   10-04-2021   10-19-2021   PA0002317056
       File Hash:                                                              2022   Raw
       FF6772AB803402F0031BC3D14912E9E4806C794228358FCF16C55D52261F36FF    06:45:40
37     Info Hash: 0D3F517CA16BF1C1F7141865E845817191E1D2D8                   04-20-   Blacked   11-29-2021   02-03-2022   PA0002341803
       File Hash:                                                              2022   Raw
       FCD85BD0EFD258A07B81E46FFD228C7CC36DF7C5CDCB1560FA70BCB1B4AD805C    06:44:44
38     Info Hash: 0AC75990739A686B555938ABFD3276F73FF69DFF                   04-20-   Blacked   01-18-2021   02-09-2021   PA0002276148
       File Hash:                                                              2022   Raw
       2CA5AA073582E71D9492E7E3E529F4816734EFC58D3451C35339EE6074EEA6F0    06:44:18
39     Info Hash: 95CE8FC9995512C1376E50826F5B4E44B0E5D8AD                   04-20-   Blacked   09-13-2021   10-05-2021   PA0002315289
       File Hash:                                                              2022
       31DF0005E5E991AE9D3F6056712C424E8D3AC8BC44E29DA31AC3C255F2F7E712    06:43:46
40     Info Hash: 9E7AA349F9E117314933CEDB885EF0A70E02E141                   04-20-   Blacked   10-16-2021   10-19-2021   PA0002317055
       File Hash:                                                              2022
       2D195DA4D1606207CE53490B5D0226D1B35671FE537BC7EFC496A557600DA514    06:43:44
41     Info Hash: 6D40E6B3C68E4347A8776C49A5F33AED77C35A3C                   04-20-   Blacked   06-26-2021   07-08-2021   PA0002300662
       File Hash:                                                              2022
       23CEF8CDE126E624213A1BBC3AEC0ED99E29DC5FCEECCC7F6D3EC3C7F4E9CF6E    06:43:42
42     Info Hash: EDCB09F21B3F97AA08CAE529F52B823CD62CDE18                   04-20-   Blacked   05-07-2021   06-09-2021   PA0002295580
       File Hash:                                                              2022
       A24AD69EC449D2087F119FCBB2A1E3DE64BB667FDD79119F37BC8C4C877652D9    06:43:41
43     Info Hash: 815221A9038E449E44DF773A5E20B0787600FE48                   04-20-   Blacked   09-13-2021   11-11-2021   PA0002321292
       File Hash:                                                              2022   Raw
       12D5DC22D527E069A7F081060B804D0E5B7858303156C691C1BDFBC107D9DC83    06:43:31
44     Info Hash: DADDC020188225733D70B4BD7BC3C7A1C5E6DF7F                   04-20-   Blacked   10-25-2021   11-11-2021   PA0002321278
       File Hash:                                                              2022   Raw
       66817E5F5203B5D23FD9F101FF93ACEAFCE88D34598DFA5D6CDE4E930490CDFB    06:43:26
45     Info Hash: CD0A15EE3729AC75B93E7D7101EA9E80266492FB                   04-20-   Blacked   11-27-2021   02-03-2022   PA0002341770
       File Hash:                                                              2022
       026F54F53E0E8FB3B27DCFEDAF9BF74136972B838CB5474AB7BDCBC98C321FD5    06:42:27
46     Info Hash: 42FABC46517ECF1236BAE72511D2A8DABDC088C0                   04-20-   Blacked   03-01-2021   03-08-2021   PA0002280355
       File Hash:                                                              2022   Raw
       DB5F10EAD44B9583949D726B51898628C35AF4FFBC911721D234F853000993FD    06:41:16
47     Info Hash: F0A2625E28F79A928FACE03B451B832C9DEC875A                   04-13-   Blacked   02-12-2022   02-14-2022   PA0002335505
       File Hash:                                                              2022
       631ED5F44EC150DD6C2CCB14D29F0711C23D9781C796DEE05C335055A485DEEF    22:45:58
                                Case 2:22-cv-01871-HB Document 1-1 Filed 05/13/22 Page 5 of 5

Work   Hashes                                                             UTC         Site      Published    Registered   Registration
48     Info Hash: AE90C86D911A70368335FF0532A2BF66B9E7FC46                   04-13-   Blacked   02-05-2022   02-14-2022   PA0002335503
       File Hash:                                                              2022
       03B4DBB838FBDADC0EDCC7B7834A86C080469CCDF9136BD723E32D716EF91FBE    22:45:27
49     Info Hash: E69BB37CE99BE570CC9EB659F45DDEF6E740E3BE                   04-08-   Blacked   08-13-2017   08-17-2017   PA0002077675
       File Hash:                                                              2022
       BF5B4937BFE86650341BC18FB7411B7174317E8090BFC5429F21835C39DAEB57    22:28:43
50     Info Hash: B0BAD8A8E83D733291438D29FB07D7ACC44F0A77                   04-08-   Blacked   04-04-2022   04-23-2022   PA0002346436
       File Hash:                                                              2022   Raw
       6696B9D95350440B05F8C6E71F65B0EB97287ABECDC9A7FFF3AE8079A5302298    22:27:03
51     Info Hash: ECEC874C21239A30F35D90C14D825619A4E8486A                   04-06-   Blacked   08-20-2018   09-05-2018   PA0002135002
       File Hash:                                                              2022   Raw
       3BF2821EC208F96DCFAB5AEC6A0A782BA4D4E7896DA939247644E14885C28509    22:35:25
52     Info Hash: C5AC5FEEBA7840F8FE1853CC8FAEE519EBBB42AE                   03-31-   Blacked   02-14-2022   03-29-2022   PA0002342705
       File Hash:                                                              2022   Raw
       73625A5F34CAF25CF81C5566988D2CED4D9DB94750EC8F51B66DFEF13B02BF68    22:43:09
53     Info Hash: FFB6EDFA66EEEF53EA113883593C28EC6BCE89A1                   03-31-   Blacked   02-26-2022   03-29-2022   PA0002342860
       File Hash:                                                              2022
       DA2409230A42FC45846820181027589052AE7C23274AA50393F3E49B9D372671    22:41:37
54     Info Hash: 5D6C222C7939BB472D2C17A576870BE41E3BA41A                   11-01-   Blacked   10-24-2017   11-30-2017   PA0002098011
       File Hash:                                                              2021   Raw
       07CD08853509425695D1A58E8EFE197F370C1E8F0AA9A1A2F25C044451D78501    21:13:16
55     Info Hash: F679391ED7AA38CC22B99756D9BFE6FE26F96FCA                   11-01-   Blacked   04-27-2018   05-24-2018   PA0002101367
       File Hash:                                                              2021   Raw
       DE23DF0A9184536BE1DF80F16F1F7F5123A83D34A41DD48A2CD8A5C218E82D94    21:08:55
